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                         UNITED STATES DISTRICT COURT
                                              for the
                                  District of Massachusetts


 JOSE MARIA DECASTRO, an individual                ) Case No. 1:22-cv-11421
                                                   )
 Plaintiff,                                        ) PLAINTIFF’S MOTION FOR
                                                   ) DISCLOSURE
 v.                                                )
                                                   )
 JOSHUA ABRAMS, an individual, et al.,             )
                                                   )
 Defendants.                                       )
 ____________________________________

                            PLAINTIFF’S MOTION FOR DISCLOSURE


      Plaintiff Jose DeCastro (“Plaintiff” or “I”), hereby moves this Honorable Court to disclose

1) all ex parte communications concerning this action; 2) any personal bias or prejudice that this

Court has against Plaintiff; and 3) The answers to the two questions below.

      1) Is Judge Burroughs a member of any law enforcement/police associations (including any

and all contributions and awards)?

      2) What does Judge Burroughs know about Plaintiff in addition to the record for this

action?

      In support of this motion, Plaintiff submits a memorandum of law, which is fully

incorporated herein.

                                                 FACTS

      This Court’s order at ECF No. 47 states: “The court will not communicate with any party to

this litigation ex parte nor will it accept ex parte communications. Any communication received

from a party to this litigation will be placed on the public record.”
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     The transcript of the hearing at ECF No. 22 mentions communications from Todd Lyon to

the court.

     Due to these facts, this is not a baseless fishing expedition, but rather backed by evidence

of the existence of ex parte communications that Plaintiff has not been party to, nor are these

communications part of the record, nor has Plaintiff been able to respond to these

communications.

                                    POINTS AND AUTHORITIES

     Pursuant to Code of Conduct for United States Judges Canon 3(A)(4) (2019), “A judge

should accord to every person who has a legal interest in a proceeding, and that person’s lawyer,

the full right to be heard according to law. Except as set out below, a judge should not initiate,

permit, or consider ex parte communications or consider other communications concerning a

pending or impending matter that are made outside the presence of the parties or their lawyers. If

a judge receives an unauthorized ex parte communication bearing on the substance of a matter,

the judge should promptly notify the parties of the subject matter of the communication and

allow the parties an opportunity to respond, if requested.”

     A judge must make disclosure on the record of circumstances that may give rise to a

reasonable question about his impartiality, see Liljeberg v. Health Servs. Acquisition Corp., 486

U.S. 847, 108 S. Ct. 2194 (1988) at 866, 868

                                           DECLARATION

     I declare under penalty of perjury, that the foregoing is true and correct.




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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

     The court has waived this local rule for the remainder of this action.


Dated: February 7, 2023                           Respectfully submitted,

                                                  /s/ Jose DeCastro
                                                  Jose DeCastro
                                                  1258 Franklin St.
                                                  Santa Monica, CA 90404
                                                  chille@situationcreator.com
                                                  (310) 963-2445
                                                  Pro Se

                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

                                                  /s/ Jose DeCastro




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